                                                                                                                                                                Case 15-53334-crm                            Doc 1      Filed 02/23/15 Entered 02/23/15 10:15:08                                                   Desc Main
                                                                                                                                                   B1 (Official Form 1) (04/13)                                         Document Page 1 of 43
                                                                                                                                                                                       United States Bankruptcy Court                                                                                    Voluntary Petition
                                                                                                                                                                                 Northern District of Georgia - Atlanta Division
                                                                                                                                                    Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                                                                     King, Kellie Michael
                                                                                                                                                    All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
                                                                                                                                                    (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
                                                                                                                                                     None

                                                                                                                                                   Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                                                                                   (if more than one, state all): 2515                                               (if more than one, state all):

                                                                                                                                                    Street Address of Debtor (No. and Street, City, and State)                                      Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                                                                     717 Lee Street, SW
                                                                                                                                                     Apt 106                                                             ZIPCODE                                                                                             ZIPCODE
                                                                                                                                                     Atlanta, GA                                                              30310
                                                                                                                                                    County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
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                                                                                                                                                     Fulton
                                                                                                                                                    Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                                                                        ZIPCODE                                                                                              ZIPCODE

                                                                                                                                                    Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                                                                             ZIPCODE

                                                                                                                                                                  Type of Debtor                                         Nature of Business                                       Chapter of Bankruptcy Code Under Which
                                                                                                                                                              (Form of Organization)                                   (Check one box)                                                 the Petition is Filed (Check one box)
                                                                                                                                                                  (Check one box)                                          Health Care Business                              Chapter 7
                                                                                                                                                        Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in                                       Chapter 15 Petition for
                                                                                                                                                        See Exhibit D on page 2 of this form.                              11 U.S.C. § 101 (51B)                             Chapter 9                  Recognition of a Foreign
                                                                                                                                                        Corporation (includes LLC and LLP)                                 Railroad                                                                     Main Proceeding
                                                                                                                                                        Partnership                                                        Stockbroker                                       Chapter 11
                                                                                                                                                        Other (If debtor is not one of the above entities,                 Commodity Broker                                  Chapter 12                 Chapter 15 Petition for
                                                                                                                                                        check this box and state type of entity below.)                    Clearing Bank                                                                Recognition of a Foreign
                                                                                                                                                                                                                                                                             Chapter 13
                                                                                                                                                                                                                           Other    N.A.                                                                Nonmain Proceeding
                                                                                                                                                                      Chapter 15 Debtors                                           Tax-Exempt Entity                                           Nature of Debts
                                                                                                                                                                                                                                 (Check box, if applicable)                                    (Check one box)
                                                                                                                                                    Country of debtor’s center of main interests:                                                                            Debts are primarily consumer
                                                                                                                                                                                                                                                                                                                     Debts are
                                                                                                                                                                                                                               Debtor is a tax-exempt organization           debts, defined in 11 U.S.C.
                                                                                                                                                                                                                                                                                                                     primarily
                                                                                                                                                    Each country in which a foreign proceeding by,                             under Title 26 of the United States           §101(8)  as "incurred by an
                                                                                                                                                                                                                                                                                                                     business debts.
                                                                                                                                                    regarding, or against debtor is pending:                                   Code (the Internal Revenue Code)              individual primarily for a
                                                                                                                                                                                                                                                                             personal, family, or
                                                                                                                                                                                                                                                                             household purpose."
                                                                                                                                                                                Filing Fee (Check one box)                                                                           Chapter 11 Debtors
                                                                                                                                                                                                                                                            Check one box:
                                                                                                                                                           Full Filing Fee attached                                                                                Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                                                                                   Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                           Filing Fee to be paid in installments (applicable to individuals only) Must attach                 Check if:
                                                                                                                                                           signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                                                                           to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                 insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                                                                                                                                                                                  on 4/01/16 and every three years thereafter).
                                                                                                                                                                                                                                                              Check all applicable boxes
                                                                                                                                                           Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                                                                                                                                                                  A plan is being filed with this petition.
                                                                                                                                                           attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                                                                                  Acceptances of the plan were solicited prepetition from one or more
                                                                                                                                                                                                                                                                  classes of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                                                                                                     Statistical/Administrative Information                                                                                                                                  THIS SPACE IS FOR
                                                                                                                                                                                                                                                                                                                             COURT USE ONLY
                                                                                                                                                       Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                                                                                       Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                                                                       distribution to unsecured creditors.
                                                                                                                                                   Estimated Number of Creditors

                                                                                                                                                    1-49           50-99           100-199           200-999         1,000-           5,001-           10,001-            25,001-         50,001-          Over
                                                                                                                                                                                                                     5,000            10,000           25,000             50,000          100,000          100,000
                                                                                                                                                   Estimated Assets

                                                                                                                                                   $0 to          $50,001 to      $100,001 to       $500,001      $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                                                                   $50,000        $100,000        $500,000          to $1         to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                                                                    million       million          million          million            million
                                                                                                                                                   Estimated Liabilities

                                                                                                                                                   $0 to          $50,001 to      $100,001 to        $500,001     $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                                                                   $50,000        $100,000        $500,000           to $1        to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                                                                     million      million          million          million            million
                                                                                                                                                           Case
                                                                                                                                                   B1 (Official    15-53334-crm
                                                                                                                                                                Form 1) (04/13)                       Doc 1          Filed 02/23/15 Entered 02/23/15 10:15:08                                           Desc Main             Page 2
                                                                                                                                                                                                                     Document Page 2 of 43
                                                                                                                                                   Voluntary Petition                                                                           Name of Debtor(s):
                                                                                                                                                   (This page must be completed and filed in every case)                                        Kellie Michael King
                                                                                                                                                                            All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                                                                                   Location                                                                              Case Number:                                       Date Filed:
                                                                                                                                                   Where Filed:           NONE

                                                                                                                                                    Location                                                                             Case Number:                                       Date Filed:
                                                                                                                                                    Where Filed:
                                                                                                                                                                          N.A.
                                                                                                                                                              Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                                                                    Name of Debtor: NONE                                                    Case Number:                                   Date Filed:


                                                                                                                                                    District:                                                                             Relationship:                                     Judge:


                                                                                                                                                                                   Exhibit A                                                                                      Exhibit B
                                                                                                                                                                                                                                                                   (To be completed if debtor is an individual
                                                                                                                                                   (To be completed if debtor is required to file periodic reports (e.g., forms                                    whose debts are primarily consumer debts)
                                                                                                                                                   10K and 10Q) with the Securities and Exchange Commission pursuant to
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                                                                                                                                                   Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting             I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                                                                   relief under chapter 11)                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                                                                                                                                                            12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                                                                                                                                                            available under each such chapter. I further certify that I delivered to the
                                                                                                                                                                                                                                            debtor the notice required by 11 U.S.C. § 342(b).

                                                                                                                                                            Exhibit A is attached and made a part of this petition.                         X        /s/ Michael R. Rethinger                             2/18/2015
                                                                                                                                                                                                                                                 Signature of Attorney for Debtor(s)                         Date


                                                                                                                                                                                                                                 Exhibit C
                                                                                                                                                   Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                                                                            Yes, and Exhibit C is attached and made a part of this petition.

                                                                                                                                                            No.


                                                                                                                                                                                                                                  Exhibit D
                                                                                                                                                     (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                                                                                Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                                                                                    If this is a joint petition:
                                                                                                                                                                Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                                                                               Information Regarding the Debtor - Venue
                                                                                                                                                                                                                            (Check any applicable box)
                                                                                                                                                                            Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                                                                                                                            preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                                                                            There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                                                                            Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District, or
                                                                                                                                                                            has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state court] in
                                                                                                                                                                            this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                                                                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                                                                             (Check all applicable boxes)
                                                                                                                                                                            Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                                                                            (Name of landlord that obtained judgment)


                                                                                                                                                                                                                             (Address of landlord)
                                                                                                                                                                            Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                                                                            entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                                                                            Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                                                                                                                            filing of the petition.
                                                                                                                                                                            Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
                                                                                                                                                               Case 15-53334-crm                    Doc 1         Filed 02/23/15 Entered 02/23/15 10:15:08                                              Desc Main
                                                                                                                                                   B1 (Official Form 1) (04/13)                                   Document Page 3 of 43                                                                                            Page 3
                                                                                                                                                   Voluntary Petition                                                                     Name of Debtor(s):
                                                                                                                                                   (This page must be completed and filed in every case)                                 Kellie Michael King
                                                                                                                                                                                                                                  Signatures
                                                                                                                                                               Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
                                                                                                                                                     I declare under penalty of perjury that the information provided in this petition
                                                                                                                                                     is true and correct.
                                                                                                                                                     [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                                                                                     has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                                                                                     available under each such chapter, and choose to proceed under chapter 7.
                                                                                                                                                     [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                                                                                     petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                                                                                     I request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                                                                     I request relief in accordance with the chapter of title 11, United States                      Certified copies of the documents required by 11 U.S.C. § 1515 of title 11 are
                                                                                                                                                     Code, specified in this petition.                                                               attached.

                                                                                                                                                                                                                                                     Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
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                                                                                                                                                                                                                                                     title 11 specified in this petition.  A certified copy of the order granting
                                                                                                                                                                                                                                                     recognition of the foreign main proceeding is attached.
                                                                                                                                                     X /s/ Kellie Michael King
                                                                                                                                                         Signature of Debtor                                                                X
                                                                                                                                                                                                                                                (Signature of Foreign Representative)
                                                                                                                                                     X
                                                                                                                                                         Signature of Joint Debtor

                                                                                                                                                                                                                                                 (Printed Name of Foreign Representative)
                                                                                                                                                          Telephone Number (If not represented by attorney)

                                                                                                                                                          2/18/2015
                                                                                                                                                                                                                                                  (Date)
                                                                                                                                                          Date

                                                                                                                                                                          Signature of Attorney*                                                     Signature of Non-Attorney Petition Preparer
                                                                                                                                                    X       /s/ Michael R. Rethinger
                                                                                                                                                         Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer
                                                                                                                                                                                                                                           as defined in 11 U.S.C. § 110, (2) I prepared this document for compensation,
                                                                                                                                                         MICHAEL R. RETHINGER 301215                                                       and have provided the debtor with a copy of this document and the notices and
                                                                                                                                                         Printed Name of Attorney for Debtor(s)
                                                                                                                                                                                                                                           information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and, (3) if
                                                                                                                                                                                                                                           rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                                                                                                                                                         Law Offices of Michael R. Rethinger, LLC                                          setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                                                                         Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                                                                                         241 Mitchell Street, SW                                                           document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                                                                         Address                                                                           required in that section. Official Form 19 is attached.

                                                                                                                                                         Atlanta, GA 30303
                                                                                                                                                                                                                                           Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                                                                         770.922.0066
                                                                                                                                                        Telephone Number
                                                                                                                                                                                                                                           Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                                                                         2/18/2015                                                                         state the Social Security number of the officer, principal, responsible person or
                                                                                                                                                       Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                                                                    *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                                                                    certification that the attorney has no knowledge after an inquiry that the
                                                                                                                                                    information in the schedules is incorrect.                                              Address

                                                                                                                                                            Signature of Debtor (Corporation/Partnership)
                                                                                                                                                      I declare under penalty of perjury that the information provided in this petition
                                                                                                                                                      is true and correct, and that I have been authorized to file this petition on       X
                                                                                                                                                      behalf of the debtor.

                                                                                                                                                      The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                                                                                      United States Code, specified in this petition.
                                                                                                                                                                                                                                              Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                                                                              person, or partner whose Social Security number is provided above.
                                                                                                                                                    X
                                                                                                                                                         Signature of Authorized Individual                                                   Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                                                                              assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                                                                              not an individual:
                                                                                                                                                         Printed Name of Authorized Individual
                                                                                                                                                                                                                                              If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                                                                              conforming to the appropriate official form for each person.
                                                                                                                                                         Title of Authorized Individual
                                                                                                                                                                                                                                              A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                                                                              and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                                                                        Date
                                                                                                                                                                                                                                              imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                                                                                       Case 15-53334-crm                    Doc 1   Filed 02/23/15 Entered 02/23/15 10:15:08     Desc Main
                                                                                                                                                                                                    Document Page 4 of 43
                                                                                                                                                   B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                                                                       UNITED STATES BANKRUPTCY COURT
                                                                                                                                                                                           Northern District of Georgia - Atlanta Division




                                                                                                                                                         Kellie Michael King
                                                                                                                                                   In re______________________________________                                  Case No._____________
                                                                                                                                                                  Debtor(s)                                                           (if known)


                                                                                                                                                              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
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                                                                                                                                                                              CREDIT COUNSELING REQUIREMENT

                                                                                                                                                           Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                                                                   credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                                                                   case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                                                                   filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                                                                   you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                                                                                   required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                                                                   collection activities.

                                                                                                                                                          Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                                                                   must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                                                                   any documents as directed.

                                                                                                                                                          1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                                                                   from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                                                                   administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                                                                   performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                                                                   services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                                                                   developed through the agency.

                                                                                                                                                           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                                                                   from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                                                                   administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                                                                   performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                                                                   the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                                                                   services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                                                                   no later than 14 days after your bankruptcy case is filed.
                                                                                                                                                     Case 15-53334-crm                   Doc 1      Filed 02/23/15 Entered 02/23/15 10:15:08   Desc Main
                                                                                                                                                                                                    Document Page 5 of 43
                                                                                                                                                   B1 D (Official Form 1, Exh. D) (12/09) – Cont.                                               Page 2


                                                                                                                                                           3. I certify that I requested credit counseling services from an approved agency but
                                                                                                                                                   was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                                                                                   following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                                                                   so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                                                                          If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                                                                   counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                                                                                   promptly file a certificate from the agency that provided the counseling, together with a
                                                                                                                                                   copy of any debt management plan developed through the agency. Failure to fulfill these
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                                                                                                                                                   requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                                                                   can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                                                                   be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                                                                   without first receiving a credit counseling briefing.

                                                                                                                                                          4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                                                                   applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                                                                                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                                                                          illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                                                                          decisions with respect to financial responsibilities.);
                                                                                                                                                                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                                                                          extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                                                                          briefing in person, by telephone, or through the Internet.);
                                                                                                                                                                  Active military duty in a military combat zone.

                                                                                                                                                          5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                                                                   counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                                                                          I certify under penalty of perjury that the information provided above is true and
                                                                                                                                                   correct.



                                                                                                                                                                              Signature of Debtor:              /s/ Kellie Michael King
                                                                                                                                                                                                               KELLIE MICHAEL KING

                                                                                                                                                                                                            2/18/2015
                                                                                                                                                                                                     Date: _________________
                                                                                                                                                                  Case 15-53334-crm                     Doc 1     Filed 02/23/15 Entered 02/23/15 10:15:08                                  Desc Main
                                                                                                                                                                                                                  Document Page 6 of 43

                                                                                                                                                    Fill in this information to identify your case:                                                   Check one box only as directed in this form and in
                                                                                                                                                                                                                                                      Form 22A-1Supp:
                                                                                                                                                    Debtor 1           Kellie Michael King
                                                                                                                                                                      __________________________________________________________________
                                                                                                                                                                        First Name               Middle Name            Last Name

                                                                                                                                                    Debtor 2            ________________________________________________________________
                                                                                                                                                                                                                                                      X   1. There is no presumption of abuse.
                                                                                                                                                    (Spouse, if filing) First Name               Middle Name            Last Name
                                                                                                                                                                                                                                                          2. The calculation to determine if a presumption of
                                                                                                                                                    United States Bankruptcy Court for the:
                                                                                                                                                                                                    Northern
                                                                                                                                                                                              ______________________
                                                                                                                                                                                                                                      GA
                                                                                                                                                                                                                        District of __________
                                                                                                                                                                                                                                                             abuse applies will be made under Chapter 7 Means
                                                                                                                                                                                                                                    (State)
                                                                                                                                                                                                                                                             Test Calculation (Official Form 22A– .
                                                                                                                                                    Case number         ___________________________________________                                       3. The Means Test does not apply now because of
                                                                                                                                                     (If known)
                                                                                                                                                                                                                                                             qualified military service but it could apply later.


                                                                                                                                                                                                                                                          Check if this is an amended filing


                                                                                                                                                   Official Form 22A 1
                                                                                                                                                   Chapter 7 Statement of Your Current Monthly Income
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                                                                                                                                                                                                                                                                                                             12/14

                                                                                                                                                   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
                                                                                                                                                   is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
                                                                                                                                                   pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have
                                                                                                                                                   primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under
                                                                                                                                                   § 707(b)(2) (Official Form 22A-1Supp) with this form.

                                                                                                                                                    Part 1:         Calculate Your Current Monthly Income

                                                                                                                                                    1. What is your marital and filing status? Check one only.
                                                                                                                                                         X    Not married. Fill out Column A, lines 2-11.
                                                                                                                                                              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
                                                                                                                                                              Married and your spouse is NOT filing with you. You and your spouse are:
                                                                                                                                                                     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                                                                                                                                                                     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                                                                                                                                                                     under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse
                                                                                                                                                                     are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
                                                                                                                                                         Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
                                                                                                                                                         case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the
                                                                                                                                                         amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not
                                                                                                                                                         include any income amount more than once. For example, if both spouses own the same rental property, put the income from that property in
                                                                                                                                                         one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                                                                                                                                                                       Column A            Column B
                                                                                                                                                                                                                                                       Debtor 1            Debtor 2 or
                                                                                                                                                                                                                                                                           non-filing spouse

                                                                                                                                                    2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
                                                                                                                                                       payroll deductions).
                                                                                                                                                                                                                                                         2,070.00
                                                                                                                                                                                                                                                       $_________                   0.00
                                                                                                                                                                                                                                                                             $__________

                                                                                                                                                    3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                                                                                                       Column B is filled in.                                                                                0.00
                                                                                                                                                                                                                                                       $_________                   0.00
                                                                                                                                                                                                                                                                             $__________

                                                                                                                                                    4. All amounts from any source which are regularly paid for household expenses
                                                                                                                                                       of you or your dependents, including child support. Include regular contributions
                                                                                                                                                       from an unmarried partner, members of your household, your dependents, parents,
                                                                                                                                                       and roommates. Include regular contributions from a spouse only if Column B is not                    0.00                   0.00
                                                                                                                                                       filled in. Do not include payments you listed on line 3.                                        $_________            $__________

                                                                                                                                                    5. Net income from operating a business, profession, or farm
                                                                                                                                                        Gross receipts (before all deductions)                                  0.00
                                                                                                                                                                                                                         $_________
                                                                                                                                                        Ordinary and necessary operating expenses                               0.00
                                                                                                                                                                                                                       – $_________
                                                                                                                                                        Net monthly income from a business, profession, or farm                 0.00 Copy here
                                                                                                                                                                                                                         $_________                          0.00
                                                                                                                                                                                                                                                       $_________                   0.00
                                                                                                                                                                                                                                                                             $__________

                                                                                                                                                    6. Net income from rental and other real property
                                                                                                                                                       Gross receipts (before all deductions)                                   0.00
                                                                                                                                                                                                                         $_________
                                                                                                                                                        Ordinary and necessary operating expenses                               0.00
                                                                                                                                                                                                                       – $_________
                                                                                                                                                        Net monthly income from rental or other real property                   0.00 Copy here
                                                                                                                                                                                                                         $_________                          0.00
                                                                                                                                                                                                                                                       $_________                   0.00
                                                                                                                                                                                                                                                                             $__________
                                                                                                                                                    7. Interest, dividends, and royalties                                                                    0.00
                                                                                                                                                                                                                                                       $_________                   0.00
                                                                                                                                                                                                                                                                             $__________

                                                                                                                                                   Official Form 22A-1                             Chapter 7 Statement of Your Current Monthly Income                                                 page 1
                                                                                                                                                                   Case 15-53334-crm                                   Doc 1              Filed 02/23/15 Entered 02/23/15 10:15:08                                      Desc Main
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                                                                                                                                                   Debtor 1             Kellie Michael King
                                                                                                                                                                       _______________________________________________________                                         Case number (if known)_____________________________________
                                                                                                                                                                       First Name          Middle Name                  Last Name




                                                                                                                                                                                                                                                                           Column A                Column B
                                                                                                                                                                                                                                                                           Debtor 1                Debtor 2 or
                                                                                                                                                                                                                                                                                                   non-filing spouse

                                                                                                                                                    8. Unemployment compensation                                                                                                   0.00
                                                                                                                                                                                                                                                                             $__________                    0.00
                                                                                                                                                                                                                                                                                                      $_________
                                                                                                                                                        Do not enter the amount if you contend that the amount received was a benefit
                                                                                                                                                        under the Social Security Act. Instead, list it here: ...........................
                                                                                                                                                              For you .......................................................................            0.00
                                                                                                                                                                                                                                                $______________
                                                                                                                                                              For your spouse..........................................................                  0.00
                                                                                                                                                                                                                                                $______________
                                                                                                                                                    9. Pension or retirement income. Do not include any amount received that was a
                                                                                                                                                       benefit under the Social Security Act.                                                                                      0.00
                                                                                                                                                                                                                                                                             $__________                    0.00
                                                                                                                                                                                                                                                                                                      $__________
                                                                                                                                                    10. Income from all other sources not listed above. Specify the source and amount.
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                                                                                                                                                        Do not include any benefits received under the Social Security Act or payments received
                                                                                                                                                        as a victim of a war crime, a crime against humanity, or international or domestic
                                                                                                                                                        terrorism. If necessary, list other sources on a separate page and put the total on line 10c.

                                                                                                                                                           10a. _______________________________________                                                                         160.00
                                                                                                                                                                                                                                                                             $_________                     0.00
                                                                                                                                                                                                                                                                                                      $__________
                                                                                                                                                           10b. part time job HCR
                                                                                                                                                                ______________________________________                                                                             0.00
                                                                                                                                                                                                                                                                             $_________                     0.00
                                                                                                                                                                                                                                                                                                      $__________
                                                                                                                                                           10c. Total amounts from separate pages, if any.                                                                       0.00
                                                                                                                                                                                                                                                                          +$_________                      0.00
                                                                                                                                                                                                                                                                                                   + $__________
                                                                                                                                                    11. Calculate your total current monthly income. Add lines 2 through 10 for each
                                                                                                                                                        column. Then add the total for Column A to the total for Column B.                                                    2,230.00
                                                                                                                                                                                                                                                                             $_________
                                                                                                                                                                                                                                                                                               +            0.00
                                                                                                                                                                                                                                                                                                      $__________
                                                                                                                                                                                                                                                                                                                          =     2,230.00
                                                                                                                                                                                                                                                                                                                              $__________
                                                                                                                                                                                                                                                                                                                              Total current monthly
                                                                                                                                                                                                                                                                                                                              income

                                                                                                                                                    Part 2:          Determine Whether the Means Test Applies to You

                                                                                                                                                    12. Calculate your current monthly income for the year. Follow these steps:
                                                                                                                                                        12a.       Copy your total current monthly income from line 11. .................................................................... Copy line 11 here   12a.         2,230.00
                                                                                                                                                                                                                                                                                                                           $__________

                                                                                                                                                                   Multiply by 12 (the number of months in a year).                                                                                                       x 12
                                                                                                                                                        12b.       The result is your annual income for this part of the form.                                                                                   12b.        26,760.00
                                                                                                                                                                                                                                                                                                                           $__________

                                                                                                                                                    13. Calculate the median family income that applies to you. Follow these steps:

                                                                                                                                                        Fill in the state in which you live.                                                    Georgia

                                                                                                                                                        Fill in the number of people in your household.                                                1
                                                                                                                                                        Fill in the median family income for your state and size of household. ................................................................................. 13.         40,985.00
                                                                                                                                                                                                                                                                                                                           $__________
                                                                                                                                                        To find a list of applicable median income amounts, go online using the link specified in the separate
                                                                                                                                                        instructions for this form. This list may also be available at the bankruptcy clerk’s office.
                                                                                                                                                    14. How do the lines compare?
                                                                                                                                                        14a. X         Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                                                                                                                                                                       Go to Part 3.
                                                                                                                                                        14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 22A-2.
                                                                                                                                                                       Go to Part 3 and fill out Form 22A–2.

                                                                                                                                                    Part 3:            Sign Below

                                                                                                                                                                     By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                                                                                                                                                                           /s/ Kellie Michael King
                                                                                                                                                                           ___________________________________________________                                     ______________________________________
                                                                                                                                                                           Signature of Debtor 1                                                                   Signature of Debtor 2

                                                                                                                                                                                2/18/2015
                                                                                                                                                                          Date _________________                                                                   Date _________________
                                                                                                                                                                               MM / DD / YYYY                                                                           MM / DD / YYYY


                                                                                                                                                                     If you checked line 14a, do NOT fill out or file Form 22A–2.
                                                                                                                                                                     If you checked line 14b, fill out Form 22A–2 and file it with this form.
                                                                                                                                                   ¯¯¯¯¯

                                                                                                                                                   Official Form 22A-1                                            Chapter 7 Statement of Your Current Monthly Income                                                             page 2
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                                                                                                                                                   Debtor 1          Kellie Michael King                                 Case Number (if known)
                                                                                                                                                              First Name   Middle Name     Last Name

                                                                                                                                                   Form 22 Continuation Sheet
                                                                                                                                                   Monthly Income

                                                                                                                                                        Month 1                                                          Month 2
                                                                                                                                                        Gross wages, salary, tips...                   2,070.00   0.00   Gross wages, salary, tips...        2,070.00   0.00
                                                                                                                                                        Income from business...                            0.00   0.00   Income from business...                 0.00   0.00
                                                                                                                                                        Rents and real property income...                  0.00   0.00   Rents and real property income...       0.00   0.00
                                                                                                                                                        Interest, dividends...                             0.00   0.00   Interest, dividends...                  0.00   0.00
                                                                                                                                                        Pension, retirement...                             0.00   0.00   Pension, retirement...                  0.00   0.00
                                                                                                                                                        Contributions to HH Exp...                         0.00   0.00   Contributions to HH Exp...              0.00   0.00
                                                                                                                                                        Unemployment...                                    0.00   0.00   Unemployment...                         0.00   0.00
                                                                                                                                                        Other Income...                                  160.00   0.00   Other Income...                       160.00   0.00
                                                                                                                                                        Month 3                                                          Month 4
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                                                                                                                                                        Gross wages, salary, tips...                   2,070.00   0.00   Gross wages, salary, tips...        2,070.00   0.00
                                                                                                                                                        Income from business...                            0.00   0.00   Income from business...                 0.00   0.00
                                                                                                                                                        Rents and real property income...                  0.00   0.00   Rents and real property income...       0.00   0.00
                                                                                                                                                        Interest, dividends...                             0.00   0.00   Interest, dividends...                  0.00   0.00
                                                                                                                                                        Pension, retirement...                             0.00   0.00   Pension, retirement...                  0.00   0.00
                                                                                                                                                        Contributions to HH Exp...                         0.00   0.00   Contributions to HH Exp...              0.00   0.00
                                                                                                                                                        Unemployment...                                    0.00   0.00   Unemployment...                         0.00   0.00
                                                                                                                                                        Other Income...                                  160.00   0.00   Other Income...                       160.00   0.00
                                                                                                                                                        Month 5                                                          Month 6
                                                                                                                                                        Gross wages, salary, tips...                   2,070.00   0.00   Gross wages, salary, tips...        2,070.00   0.00
                                                                                                                                                        Income from business...                            0.00   0.00   Income from business...                 0.00   0.00
                                                                                                                                                        Rents and real property income...                  0.00   0.00   Rents and real property income...       0.00   0.00
                                                                                                                                                        Interest, dividends...                             0.00   0.00   Interest, dividends...                  0.00   0.00
                                                                                                                                                        Pension, retirement...                             0.00   0.00   Pension, retirement...                  0.00   0.00
                                                                                                                                                        Contributions to HH Exp...                         0.00   0.00   Contributions to HH Exp...              0.00   0.00
                                                                                                                                                        Unemployment...                                    0.00   0.00   Unemployment...                         0.00   0.00
                                                                                                                                                        Other Income...                                  160.00   0.00   Other Income...                       160.00   0.00




                                                                                                                                                   Additional Items as Designated, if any




                                                                                                                                                   Remarks
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                                                                                                                                                                                                                   BANKRUPTCY      COURT
                                                                                                                                                                                                Northern District of Georgia - Atlanta Division

                                                                                                                                                     In Re Kellie Michael King                                                                              Case No.
                                                                                                                                                                                                                                                                             (if known)


                                                                                                                                                                                                        STATEMENT OF FINANCIAL AFFAIRS

                                                                                                                                                                       This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                                                                             the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                                                                             information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                                                                             filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                                                                             provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                                                                                             indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                                                                                             or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                                                                                             R. Bankr. P. 1007(m).
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                                                                                                                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                                                                             must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional
                                                                                                                                                             space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name, case number
                                                                                                                                                             (if known), and the number of the question.

                                                                                                                                                             DEFINITIONS

                                                                                                                                                                        "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                                                                             individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
                                                                                                                                                             the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                                                                             the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                                                                                             employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                                                                                             in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                                                                                        "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                                                                             their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in
                                                                                                                                                             control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
                                                                                                                                                             the debtor. 11 U.S.C. § 101(2), (31).



                                                                                                                                                                        1. Income from employment or operation of business

                                                                                                                                                                        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                                                                                        the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                                                                            None        beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                                                                                        two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                                                                                        the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                                                                                        of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                                                                                        under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                                                                                        spouses are separated and a joint petition is not filed.)

                                                                                                                                                                                  AMOUNT                                              SOURCE

                                                                                                                                                                2015               $2,644     Employment                                                    FY: 1/1/2015 to date

                                                                                                                                                                2014              $22,844     Employment                                                    FY: 1/1/2014 to 12/31/2014

                                                                                                                                                                2013              $18,000     Employment                                                    FY: 1/1/2013 to 12/31/2013
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                                                                                                                                                              2.   Income other than from employment or operation of business

                                                                                                                                                   None             State the amount of income received by the debtor other than from employment, trade, profession, or operation
                                                                                                                                                              of the debtor's business during the two years immediately preceding the commencement of this case. Give
                                                                                                                                                              particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter
                                                                                                                                                              12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are
                                                                                                                                                              separated and a joint petition is not filed.)

                                                                                                                                                               AMOUNT                                                                SOURCE



                                                                                                                                                              3. Payments to creditors
                                                                                                                                                   None
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                                                                                                                                                              Complete a. or b., as appropriate, and c.
                                                                                                                                                              a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                                                                                                                                                              goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                                                                                              this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
                                                                                                                                                              Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation
                                                                                                                                                              or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                                                                                                              counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                                                                                                                                                              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                                                                   NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                                                                                                                                  PAYMENTS                                PAID                  OWING




                                                                                                                                                   None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
                                                                                                                                                              within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
                                                                                                                                                              constitutes or is affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk
                                                                                                                                                              (*)any payments that were made to a creditor on account of a domestic support obligation or as part of an
                                                                                                                                                              alternativerepayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
                                                                                                                                                              (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both
                                                                                                                                                              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                                                                   *Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after date of adjustment.
                                                                                                                                                   NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                                                                    AND RELATIONSHIP TO DEBTOR                                    PAYMENTS                                PAID                  OWING
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                                                                                                                                                   None

                                                                                                                                                              c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or
                                                                                                                                                              for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                                                                              include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                                                              and a joint petition is not filed.)


                                                                                                                                                    NAME AND ADDRESS OF CREDITOR                                DATES OF                      AMOUNT PAID             AMOUNT STILL
                                                                                                                                                     AND RELATIONSHIP TO DEBTOR                                 PAYMENTS                                                 OWING


                                                                                                                                                              4. Suits and administrative proceedings, executions, garnishments and attachments
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                                                                                                                                                   None       a.    List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                                                                                              preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                                                              information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                                                              and a joint petition is not filed.)


                                                                                                                                                    CAPTION OF SUIT                  NATURE OF PROCEEDING                           COURT OR                               STATUS OR
                                                                                                                                                   AND CASE NUMBER                                                             AGENCY AND LOCATION                         DISPOSITION


                                                                                                                                                   None       b.     Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                                                                                              one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
                                                                                                                                                              13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                                                                                                                                                              unless the spouses are separated and a joint petition is not filed.)


                                                                                                                                                      NAME AND ADDRESS OF                                          DATE OF                                      DESCRIPTION AND
                                                                                                                                                    PERSON FOR WHOSE BENEFIT                                       SEIZURE                                     VALUE OF PROPERTY
                                                                                                                                                      PROPERTY WAS SEIZED

                                                                                                                                                   Multibank 2009-1 Res-Adc                                     last year                             $2,169.83 in wages
                                                                                                                                                   Venture                                                                                            garnished
                                                                                                                                                   , LLC
                                                                                                                                                   c/o Jones & Walker
                                                                                                                                                   One Midtown Plaza
                                                                                                                                                   Suite 1030
                                                                                                                                                   1360 Peachtree Street, NE
                                                                                                                                                   Atlanta, GA 30309
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                                                                                                                                                              5.   Repossessions, foreclosures and returns

                                                                                                                                                   None             List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in
                                                                                                                                                              lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
                                                                                                                                                              (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
                                                                                                                                                              both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                                                                       NAME AND                                    DATE OF REPOSESSION,                                            DESCRIPTION AND
                                                                                                                                                      ADDRESS OF                                    FORECLOSURE SALE,                                             VALUE OF PROPERTY
                                                                                                                                                   CREDITOR OR SELLER                              TRANSFER OR RETURN


                                                                                                                                                              6. Assignments and Receiverships
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                                                                                                                                                   None       a.     Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
                                                                                                                                                              the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
                                                                                                                                                              assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                                                                              joint petition is not filed.)


                                                                                                                                                            NAME AND                                      DATE OF ASSIGNMENT                                   TERMS OF
                                                                                                                                                           ADDRESS OF                                                                                         ASSIGNMENT
                                                                                                                                                             ASSIGNEE                                                                                        OR SETTLEMENT


                                                                                                                                                   None       b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                                                                                              year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                                                                              must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                                                                                              the spouses are separated and a joint petition is not filed.)


                                                                                                                                                            NAME AND                            NAME AND LOCATION                              DATE OF                DESCRIPTION AND
                                                                                                                                                           ADDRESS OF                           OF COURT CASE TITLE                             ORDER                VALUE OF PROPERTY
                                                                                                                                                           CUSTODIAN                                 & NUMBER



                                                                                                                                                              7.   Gifts

                                                                                                                                                   None            List all gifts or charitable contributions made within one year immediately preceding the commencement of this
                                                                                                                                                              case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual family
                                                                                                                                                              member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter
                                                                                                                                                              12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
                                                                                                                                                              unless the spouses are separated and a joint petition is not filed.)


                                                                                                                                                          NAME AND                               RELATIONSHIP                           DATE OF                   DESCRIPTION AND
                                                                                                                                                         ADDRESS OF                            TO DEBTOR, IF ANY                          GIFT                     VALUE OF GIFT
                                                                                                                                                   PERSON OR ORGANIZATION
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                                                                                                                                                              8.   Losses

                                                                                                                                                   None                List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                                                                              commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                                                                              chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                                                                              separated and a joint petition is not filed.)


                                                                                                                                                       DESCRIPTION                              DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                                DATE OF
                                                                                                                                                        AND VALUE                                  WAS COVERED IN WHOLE OR IN PART BY                                      LOSS
                                                                                                                                                       OF PROPERTY                                     INSURANCE, GIVE PARTICULARS


                                                                                                                                                              9.   Payments related to debt counseling or bankruptcy
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                                                                                                                                                   None            List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys,
                                                                                                                                                              for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in
                                                                                                                                                              bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                                                                               NAME AND ADDRESS                          DATE OF PAYMENT,                               AMOUNT OF MONEY OR
                                                                                                                                                                   OF PAYEE                              NAME OF PAYOR IF                                 DESCRIPTION AND
                                                                                                                                                                                                        OTHER THAN DEBTOR                                VALUE OF PROPERTY

                                                                                                                                                   Michael R. Rethinger                           2.18.2015                                        $335 Filing Fee
                                                                                                                                                   Law Offices of Michael R.                                                                       $250 Attorney Fee
                                                                                                                                                   Rethinger, LLC
                                                                                                                                                   241 Mitchell Street, SW
                                                                                                                                                   Atlanta, GA 30303

                                                                                                                                                   Access Counseling                              2.18.2015                                        $25 Credit Counseling Certificate


                                                                                                                                                              10. Other transfers

                                                                                                                                                   None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs
                                                                                                                                                              of the debtor, transferred either absolutely or as security within two years immediately preceding the commencement
                                                                                                                                                              of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                                                                                                                                                              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                                                                       NAME AND ADDRESS OF TRANSFEREE,                                      DATE                            DESCRIBE PROPERTY
                                                                                                                                                           RELATIONSHIP TO DEBTOR                                                                            TRANSFERRED AND
                                                                                                                                                                                                                                                              VALUE RECEIVED
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                                                                                                                                                              b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
                                                                                                                                                              to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                                                                   None

                                                                                                                                                          NAME OF TRUST OR OTHER DEVICE                                DATE(S) OF                       AMOUNT OF MONEY OR
                                                                                                                                                                                                                      TRANSFER(S)                         DESCRIPTION AND
                                                                                                                                                                                                                                                       VALUE OF PROPERTY OR
                                                                                                                                                                                                                                                    DEBTOR'S INTEREST IN PROPERTY


                                                                                                                                                              11. Closed financial accounts

                                                                                                                                                   None             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
                                                                                                                                                              were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case.
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                                                                                                                                                              Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share
                                                                                                                                                              accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                                                                                              institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                                                                                              instruments held by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                                                              and a joint petition is not filed.)


                                                                                                                                                            NAME AND                             TYPE OF ACCOUNT, LAST FOUR                                        AMOUNT AND
                                                                                                                                                           ADDRESS OF                            DIGITS OF ACCOUNT NUMBER,                                         DATE OF SALE
                                                                                                                                                           INSTITUTION                          AND AMOUNT OF FINAL BALANCE                                         OR CLOSING


                                                                                                                                                              12. Safe deposit boxes

                                                                                                                                                   None                List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                                                                              valuables within one year immediately preceding the commencement of this case. (Married debtors filing under
                                                                                                                                                              chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition
                                                                                                                                                              is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                                                                               NAME AND                        NAMES AND ADDRESSES OF                   DESCRIPTION OF               DATE OF
                                                                                                                                                            ADDRESS OF BANK                   THOSE WITH ACCESS TO BOX                    CONTENTS                 TRANSFER OR
                                                                                                                                                          OR OTHER DEPOSITORY                      OR DEPOSITORY                                                 SURRENDER, IF ANY


                                                                                                                                                              13. Setoffs

                                                                                                                                                   None              List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                                                                                              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                                                              information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                                                              and a joint petition is not filed.)


                                                                                                                                                          NAME AND ADDRESS OF CREDITOR                                    DATE                                  AMOUNT
                                                                                                                                                                                                                           OF                                      OF
                                                                                                                                                                                                                         SETOFF                                  SETOFF
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                                                                                                                                                              14. Property held for another person

                                                                                                                                                   None            List all property owned by another person that the debtor holds or controls.


                                                                                                                                                              NAME AND                                DESCRIPTION AND                             LOCATION OF PROPERTY
                                                                                                                                                           ADDRESS OF OWNER                          VALUE OF PROPERTY


                                                                                                                                                              15. Prior address of debtor
                                                                                                                                                   None
                                                                                                                                                                     If the debtor has moved within the three years immediately preceding the commencement of this case, list all
                                                                                                                                                              premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
                                                                                                                                                              joint petition is filed, report also any separate address of either spouse.
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                                                                                                                                                            ADDRESS                                           NAME USED                                   DATES OF OCCUPANCY


                                                                                                                                                   437 Collier Ridge Drive                     Same                                               2010-2013
                                                                                                                                                   NW
                                                                                                                                                   Atlanta, GA 30318


                                                                                                                                                              16. Spouses and Former Spouses
                                                                                                                                                   None
                                                                                                                                                                  If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                                                                              Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                                                                                              eight years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                                                                                                              any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                                                                            NAME


                                                                                                                                                              17. Environmental Sites

                                                                                                                                                              For the purpose of this question, the following definitions apply:

                                                                                                                                                              "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                                                                              releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                                                                                              other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                                                                              wastes, or material.

                                                                                                                                                                         "Site" means any location, facility, or property as defined under any Environmental Law, whether or not
                                                                                                                                                                         presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                                                                                         "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                                                                                                                                                                         hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                                                                                   None
                                                                                                                                                              a.    List the name and address of every site for which the debtor has received notice in writing by a governmental
                                                                                                                                                              unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
                                                                                                                                                              governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                                                                           SITE NAME                           NAME AND ADDRESS                          DATE OF                ENVIRONMENTAL
                                                                                                                                                          AND ADDRESS                        OF GOVERNMENTAL UNIT                        NOTICE                      LAW
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                                                                                                                                                              b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release
                                                                                                                                                              of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                                                                                   None

                                                                                                                                                           SITE NAME                           NAME AND ADDRESS                           DATE OF                  ENVIRONMENTAL
                                                                                                                                                          AND ADDRESS                        OF GOVERNMENTAL UNIT                         NOTICE                        LAW


                                                                                                                                                              c.    List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
                                                                                                                                                              with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                                                                                                                                                   None       was a party to the proceeding, and the docket number.


                                                                                                                                                             NAME AND ADDRESS                                  DOCKET NUMBER                              STATUS OR DISPOSITION
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                                                                                                                                                           OF GOVERNMENTAL UNIT


                                                                                                                                                              18. Nature, location and name of business

                                                                                                                                                   None       a.       If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                                                                              businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or
                                                                                                                                                              managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a trade, profession, or
                                                                                                                                                              other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
                                                                                                                                                              which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                                                                                                                                                              preceding the commencement of this case.

                                                                                                                                                              If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                                                              beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                                                              voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                                                                              If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                                                              beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                                                              voting or equity securities within the six years immediately preceding the commencement of this case.

                                                                                                                                                     NAME              LAST FOUR DIGITS OF                    ADDRESS                 NATURE OF BUSINESS BEGINNING AND
                                                                                                                                                                       SOCIAL-SECURITY OR                                                                ENDING DATES
                                                                                                                                                                        OTHER INDIVIDUAL
                                                                                                                                                                         TAXPAYER-I.D. NO.
                                                                                                                                                                       (ITIN)/ COMPLETE EIN


                                                                                                                                                              b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                                                                                              U.S.C. § 101.
                                                                                                                                                   None

                                                                                                                                                              NAME                                                                                ADDRESS




                                                                                                                                                                           [Questions 19 - 25 are not applicable to this case]
                                                                                                                                                                                                *    *    *    *   *    *
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                                                                                                                                                                [If completed by an individual or individual and spouse]

                                                                                                                                                                I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                                                                                                                thereto and that they are true and correct.
                                                                                                                                                               2/18/2015                                                                                      /s/ Kellie Michael King
                                                                                                                                                   Date                                                                            Signature
                                                                                                                                                                                                                                   of Debtor                  KELLIE MICHAEL KING




                                                                                                                                                                                                                          0 continuation sheets attached
                                                                                                                                                                                                                        _____
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                                                                                                                                                                       Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                                                                           DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                                                                                        I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                                                                   compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b); (3) if
                                                                                                                                                   rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I
                                                                                                                                                   have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required
                                                                                                                                                   in that section.




                                                                                                                                                   Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                                                                                                   If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                                                                                   partner who signs this document.




                                                                                                                                                   Address

                                                                                                                                                   X
                                                                                                                                                   Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                                                                                   Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                   not an individual:

                                                                                                                                                   If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                                                                   A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                                                                                   or imprisonment or both. 18 U.S.C. §156.
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                                                                                                                                                   In re    Kellie Michael King                                                                   Case No.
                                                                                                                                                                              Debtor                                                                                                 (If known)

                                                                                                                                                                                                   SCHEDULE A - REAL PROPERTY
                                                                                                                                                      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                                                                                   tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                                                                                   the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                                                                                   “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                                                                                   “Description and Location of Property.”

                                                                                                                                                     Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                                                                   Unexpired Leases.

                                                                                                                                                       If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                                                                                   claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”
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                                                                                                                                                      If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                                                                                   Property Claimed as Exempt.




                                                                                                                                                                                                                                                      HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                                                               CURRENT VALUE
                                                                                                                                                                                                                                                                                 OF DEBTOR’S
                                                                                                                                                                 DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                        INTEREST IN         AMOUNT OF
                                                                                                                                                                        OF PROPERTY                                   INTEREST IN PROPERTY                                   PROPERTY, WITHOUT        SECURED
                                                                                                                                                                                                                                                                               DEDUCTING ANY           CLAIM
                                                                                                                                                                                                                                                                               SECURED CLAIM
                                                                                                                                                                                                                                                                                OR EXEMPTION



                                                                                                                                                    Single Family Home at: 664 Clover Street,                     Fee Simple subject to                                              36,158.00         179,625.00
                                                                                                                                                    Atlanta, Georgia                                              security deed




                                                                                                                                                                                                                                                 Total                               36,158.00

                                                                                                                                                                                                                                                 (Report also on Summary of Schedules.)
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                                                                                                                                                                                     Debtor                                                                             (If known)

                                                                                                                                                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                                                                                   place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                                                                                   identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                                                                                   community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                                                                                   individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                                                                   Unexpired Leases.

                                                                                                                                                         If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                                                                                   If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                                                                   "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).
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                                                                                                                                                                                                                                                                              HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                                                     CURRENT VALUE OF




                                                                                                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                                                                                                     DEBTOR’S INTEREST
                                                                                                                                                                                                            N                                                                                           IN PROPERTY,
                                                                                                                                                               TYPE OF PROPERTY                             O                DESCRIPTION AND LOCATION                                                     WITHOUT
                                                                                                                                                                                                            N                      OF PROPERTY                                                        DEDUCTING ANY
                                                                                                                                                                                                            E                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                                                                                       OR EXEMPTION


                                                                                                                                                     1. Cash on hand.                                       X
                                                                                                                                                     2. Checking, savings or other financial accounts,          Checking Account                                                                               10.00
                                                                                                                                                     certificates of deposit, or shares in banks, savings
                                                                                                                                                     and loan, thrift, building and loan, and homestead         Bank of America
                                                                                                                                                     associations, or credit unions, brokerage houses,
                                                                                                                                                     or cooperatives.


                                                                                                                                                     3. Security deposits with public utilities,            X
                                                                                                                                                     telephone companies, landlords, and others.

                                                                                                                                                     4. Household goods and furnishings, including              Household goods and furnishings (no item exceeding                                          1,500.00
                                                                                                                                                     audio, video, and computer equipment.
                                                                                                                                                                                                                $300.00 value)
                                                                                                                                                     5. Books. Pictures and other art objects,              X
                                                                                                                                                     antiques, stamp, coin, record, tape, compact disc,
                                                                                                                                                     and other collections or collectibles.

                                                                                                                                                     6. Wearing apparel.                                        Misc. Clothing                                                                              1,500.00
                                                                                                                                                     7. Furs and jewelry.                                   X
                                                                                                                                                     8. Firearms and sports, photographic, and other        X
                                                                                                                                                     hobby equipment.

                                                                                                                                                     9. Interests in insurance policies. Name               X
                                                                                                                                                     insurance company of each policy and itemize
                                                                                                                                                     surrender or refund value of each.

                                                                                                                                                     10. Annuities. Itemize and name each issuer.           X
                                                                                                                                                     11. Interests in an education IRA as defined in 26     X
                                                                                                                                                     U.S.C. § 530(b)(1) or under a qualified State
                                                                                                                                                     tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                                                                     Give particulars. (File separately the record(s) of
                                                                                                                                                     any such interest(s). 11 U.S.C. § 521(c).)

                                                                                                                                                     12. Interests in IRA, ERISA, Keogh, or other           X
                                                                                                                                                     pension or profit sharing plans. Give particulars.

                                                                                                                                                     13. Stock and interests in incorporated and            X
                                                                                                                                                     unincorporated businesses. Itemize.
                                                                                                                                                              Case
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                                                                                                                                                                                     Debtor                                                             (If known)

                                                                                                                                                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                                                                      (Continuation Sheet)




                                                                                                                                                                                                                                                             HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                                    CURRENT VALUE OF




                                                                                                                                                                                                                                                               OR COMMUNITY
                                                                                                                                                                                                                                                                                    DEBTOR’S INTEREST
                                                                                                                                                                                                            N                                                                          IN PROPERTY,
                                                                                                                                                               TYPE OF PROPERTY                             O              DESCRIPTION AND LOCATION                                      WITHOUT
                                                                                                                                                                                                            N                    OF PROPERTY                                         DEDUCTING ANY
                                                                                                                                                                                                            E                                                                        SECURED CLAIM
                                                                                                                                                                                                                                                                                      OR EXEMPTION
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                                                                                                                                                     14. Interests in partnerships or joint ventures.       X
                                                                                                                                                     Itemize.

                                                                                                                                                     15. Government and corporate bonds and other           X
                                                                                                                                                     negotiable and non-negotiable instruments.

                                                                                                                                                     16. Accounts receivable.                               X
                                                                                                                                                     17. Alimony, maintenance, support, and property        X
                                                                                                                                                     settlement to which the debtor is or may be
                                                                                                                                                     entitled. Give particulars.

                                                                                                                                                     18. Other liquidated debts owing debtor including      X
                                                                                                                                                     tax refunds. Give particulars.

                                                                                                                                                     19. Equitable or future interests, life estates, and   X
                                                                                                                                                     rights or powers exercisable for the benefit of the
                                                                                                                                                     debtor other than those listed in Schedule A - Real
                                                                                                                                                     Property.

                                                                                                                                                     20. Contingent and noncontingent interests in          X
                                                                                                                                                     estate or a decedent, death benefit plan, life
                                                                                                                                                     insurance policy, or trust.

                                                                                                                                                     21. Other contingent and unliquidated claims of        X
                                                                                                                                                     every nature, including tax refunds, counterclaims
                                                                                                                                                     of the debtor, and rights of setoff claims. Give
                                                                                                                                                     estimated value of each.

                                                                                                                                                     22. Patents, copyrights, and other intellectual        X
                                                                                                                                                     property. Give particulars.

                                                                                                                                                     23. Licenses, franchises, and other general            X
                                                                                                                                                     intangibles. Give particulars.

                                                                                                                                                     24. Customer lists or other compilations               X
                                                                                                                                                     containing personally identifiable information (as
                                                                                                                                                     defined in 11 U.S.C. §101(41A)) provided to the
                                                                                                                                                     debtor by individuals in connection with obtaining
                                                                                                                                                     a product or service from the debtor primarily for
                                                                                                                                                     personal, family, or household purposes.

                                                                                                                                                     25. Automobiles, trucks, trailers, and other           X
                                                                                                                                                     vehicles and accessories.

                                                                                                                                                     26. Boats, motors, and accessories.                    X
                                                                                                                                                     27. Aircraft and accessories.                          X
                                                                                                                                                     28. Office equipment, furnishings, and supplies.       X
                                                                                                                                                     29. Machinery, fixtures, equipment, and supplies       X
                                                                                                                                                     used in business.

                                                                                                                                                     30. Inventory.                                         X
                                                                                                                                                     31. Animals.                                           X
                                                                                                                                                             Case
                                                                                                                                                   B6B (Official Form15-53334-crm
                                                                                                                                                                      6B) (12/07) -- Cont.           Doc 1   Filed 02/23/15 Entered 02/23/15 10:15:08                                           Desc Main
                                                                                                                                                                                                             Document Page 21 of 43

                                                                                                                                                   In re     Kellie Michael King                                                        Case No.
                                                                                                                                                                                    Debtor                                                                       (If known)

                                                                                                                                                                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                                                               (Continuation Sheet)




                                                                                                                                                                                                                                                                         HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                                                CURRENT VALUE OF




                                                                                                                                                                                                                                                                           OR COMMUNITY
                                                                                                                                                                                                                                                                                                DEBTOR’S INTEREST
                                                                                                                                                                                                     N                                                                                             IN PROPERTY,
                                                                                                                                                               TYPE OF PROPERTY                      O              DESCRIPTION AND LOCATION                                                         WITHOUT
                                                                                                                                                                                                     N                    OF PROPERTY                                                            DEDUCTING ANY
                                                                                                                                                                                                     E                                                                                           SECURED CLAIM
                                                                                                                                                                                                                                                                                                  OR EXEMPTION
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                                                                                                                                                     32. Crops - growing or harvested. Give          X
                                                                                                                                                     particulars.

                                                                                                                                                     33. Farming equipment and implements.           X
                                                                                                                                                     34. Farm supplies, chemicals, and feed.         X
                                                                                                                                                     35. Other personal property of any kind not     X
                                                                                                                                                     already listed. Itemize.




                                                                                                                                                                                                                        0      continuation sheets attached        Total                        $      3,010.00
                                                                                                                                                                                                                               (Include amounts from any continuation
                                                                                                                                                                                                                                 sheets attached. Report total also on
                                                                                                                                                                                                                                       Summary of Schedules.)
                                                                                                                                                                Case 15-53334-crm              Doc 1      Filed 02/23/15 Entered 02/23/15 10:15:08                             Desc Main
                                                                                                                                                     B6C (Official Form 6C) (04/13)                       Document Page 22 of 43

                                                                                                                                                   In re    Kellie Michael King                                                             Case No.
                                                                                                                                                                             Debtor                                                                               (If known)

                                                                                                                                                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                                                                     Debtor claims the exemptions to which debtor is entitled under:
                                                                                                                                                     (Check one box)

                                                                                                                                                           11 U.S.C. § 522(b)(2)                                           Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                                                                           $155,675*.
                                                                                                                                                           11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                                                                              CURRENT
                                                                                                                                                                                                                  SPECIFY LAW                        VALUE OF            VALUE OF PROPERTY
                                                                                                                                                               DESCRIPTION OF PROPERTY                          PROVIDING EACH                       CLAIMED             WITHOUT DEDUCTING
                                                                                                                                                                                                                   EXEMPTION                        EXEMPTION                EXEMPTION
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                                                                                                                                                      Checking Account                                OCGA § 44-13-100(a)(6)                                  10.00                      10.00

                                                                                                                                                      Household goods and furnishings (no item        OCGA § 44-13-100(a)(4)                               1,500.00                    1,500.00
                                                                                                                                                      exceeding $300.00 value)

                                                                                                                                                      Misc. Clothing                                  OCGA § 44-13-100(a)(4)                               1,500.00                    1,500.00




                                                                                                                                                    *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                                                                            Case 15-53334-crm                 Doc 1                            Filed 02/23/15 Entered 02/23/15 10:15:08                                                 Desc Main
                                                                                                                                                                                                                               Document Page 23 of 43
                                                                                                                                                   B6D (Official Form 6D) (12/07)

                                                                                                                                                            Kellie Michael King
                                                                                                                                                   In re _______________________________________________,                                                              Case No. _________________________________
                                                                                                                                                                                  Debtor                                                                                                                              (If known)

                                                                                                                                                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                              State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                                                                                   by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                                                                   useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                                                                                   such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                                                                               List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                                                                                   address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                                                                                   §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                                                              If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                                                                                   include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                                                                                   husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                                                                                   "Husband, Wife, Joint, or Community."
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                                                                                                                                                              If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                                                                                   labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                                                                                   one of these three columns.)
                                                                                                                                                              Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                                                                                   labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                                                                                   Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                                                                                   the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                                                                             Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                                                                                                                                                                                                                                                                                                                 AMOUNT
                                                                                                                                                                                                             HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                                                                                                                       DATE CLAIM WAS INCURRED,                                                     OF
                                                                                                                                                                                                  CODEBTOR




                                                                                                                                                                                                                                                                                                    DISPUTED
                                                                                                                                                              CREDITOR’S NAME,
                                                                                                                                                                                                                ORCOMMUNITY




                                                                                                                                                               MAILING ADDRESS                                                            NATURE OF LIEN, AND                                                     CLAIM            UNSECURED
                                                                                                                                                             INCLUDING ZIP CODE,                                                           DESCRIPTION AND                                                       WITHOUT            PORTION,
                                                                                                                                                            AND ACCOUNT NUMBER                                                            VALUE OF PROPERTY                                                     DEDUCTING            IF ANY
                                                                                                                                                              (See Instructions Above.)                                                     SUBJECT TO LIEN                                                      VALUE OF
                                                                                                                                                                                                                                                                                                               COLLATERAL


                                                                                                                                                   ACCOUNT NO. 2013-CV-232135                                                       Lien: Judgment Lien                                                                            243,519.04
                                                                                                                                                   Multibank 2009-1 Res-Adc Venture                                                 Security: 664 Clover Street,
                                                                                                                                                   , LLC                                                                            Atlanta, Georgia
                                                                                                                                                                                                                                                                                                                 279,677.04
                                                                                                                                                   c/o Jones & Walker
                                                                                                                                                   One Midtown Plaza
                                                                                                                                                   Suite 1030                                                                       VALUE $                36,158.00
                                                                                                                                                   1360 Peachtree Street, NE
                                                                                                                                                   ACCOUNTGA
                                                                                                                                                   Atlanta,  NO.30309




                                                                                                                                                                                                                                    VALUE $
                                                                                                                                                   ACCOUNT NO.




                                                                                                                                                                                                                                     VALUE $

                                                                                                                                                      0
                                                                                                                                                    _______continuation sheets attached                                                                                Subtotal     $ 279,677.04                              $ 243,519.04
                                                                                                                                                                                                                                                               (Total of this page)
                                                                                                                                                                                                                                                                           Total    $ 279,677.04                              $ 243,519.04
                                                                                                                                                                                                                                                            (Use only on last page)
                                                                                                                                                                                                                                                                                                      (Report also on       (If applicable, report
                                                                                                                                                                                                                                                                                                      Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                                                                            Summary of Certain
                                                                                                                                                                                                                                                                                                                            Liabilities and Related
                                                                                                                                                                                                                                                                                                                            Data.)
                                                                                                                                                           Case 15-53334-crm                  Doc 1       Filed 02/23/15 Entered 02/23/15 10:15:08                                 Desc Main
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                                                                                                                                                   B6E (Official Form 6E) (04/13)


                                                                                                                                                              Kellie Michael King
                                                                                                                                                      In re________________________________________________________________,                         Case No.______________________________
                                                                                                                                                                              Debtor                                                                               (if known)

                                                                                                                                                           SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                                                            A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                                                                     unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                                                                     address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                                                                     property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                                                                     the type of priority.

                                                                                                                                                            The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                                                                     the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                                                                     "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                                                                             If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
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                                                                                                                                                     entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                                                                     both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                                                                     Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                                                                     in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                                                                     more than one of these three columns.)

                                                                                                                                                           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                                                                     Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                                                                               Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
                                                                                                                                                     amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                                                                                     primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                                                                              Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                                                                     amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                                                                     with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                                                                     Data.



                                                                                                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                                                                    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


                                                                                                                                                          Domestic Support Obligations

                                                                                                                                                         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                                                                                   or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                                                                                   11 U.S.C. § 507(a)(1).


                                                                                                                                                          Extensions of credit in an involuntary case

                                                                                                                                                         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                                                                                   appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                                                                          Wages, salaries, and commissions

                                                                                                                                                            Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                                                                    independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                                                                    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                                                                          Contributions to employee benefit plans

                                                                                                                                                               Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                                                                       cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                                                                            *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                                                                             Case 15-53334-crm                 Doc 1       Filed 02/23/15 Entered 02/23/15 10:15:08                               Desc Main
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                                                                                                                                                                 Kellie Michael King
                                                                                                                                                         In re________________________________________________________________,                      Case No.______________________________
                                                                                                                                                                                 Debtor                                                                            (if known)




                                                                                                                                                          Certain farmers and fishermen
                                                                                                                                                        Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
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                                                                                                                                                          Deposits by individuals
                                                                                                                                                        Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                                                                                    that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                                                                          Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                                                                        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



                                                                                                                                                          Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                                                                                       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                                                                    Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                                                                    U.S.C. § 507 (a)(9).



                                                                                                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                                                                         Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                                                                                   alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                                                                                                   alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).



                                                                                                                                                          * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                                                                          adjustment.




                                                                                                                                                                                                              1
                                                                                                                                                                                                             ____ continuation sheets attached
                                                                                                                                                            Case 15-53334-crm                    Doc 1                                Filed 02/23/15 Entered 02/23/15 10:15:08                                                      Desc Main
                                                                                                                                                                                                                                      Document Page 26 of 43
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                                                                                                                                                         In reKellie Michael King
                                                                                                                                                              __________________________________________________,                                                                                          Case No. _________________________________
                                                                                                                                                                                       Debtor                                                                                                                                  (If known)

                                                                                                                                                        SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                                                                                                                                             (Continuation Sheet)                                         Sec. 507(a)(8)

                                                                                                                                                                                                                                                                                                     Type of Priority for Claims Listed on This Sheet




                                                                                                                                                                                                               HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                               CREDITOR’S NAME,                                                         DATE CLAIM WAS                                                                                        AMOUNT

                                                                                                                                                                                                    CODEBTOR




                                                                                                                                                                                                                                                                                          DISPUTED
                                                                                                                                                               MAILING ADDRESS                                                           INCURRED AND                                                      AMOUNT            AMOUNT             NOT
                                                                                                                                                             INCLUDING ZIP CODE,                                                        CONSIDERATION                                                        OF            ENTITLED TO       ENTITLED
                                                                                                                                                            AND ACCOUNT NUMBER                                                             FOR CLAIM                                                        CLAIM           PRIORITY             TO
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                                                                                                                                                              (See instructions above..)                                                                                                                                                    PRIORITY, IF
                                                                                                                                                                                                                                                                                                                                                ANY

                                                                                                                                                   ACCOUNT NO.
                                                                                                                                                                                                                                       Consideration: State
                                                                                                                                                   Georgia Department of Revenue                                                       Income Taxes
                                                                                                                                                   Bankruptcy Unit                                                                                                                                             252.00            252.00             0.00
                                                                                                                                                   P.O. Box 161108
                                                                                                                                                   Atlanta, GA 30321

                                                                                                                                                   ACCOUNT NO.
                                                                                                                                                                                                                                       Consideration:
                                                                                                                                                   Internal Revenue Service                                                            Federal income
                                                                                                                                                   Box 7346                                                                            taxes
                                                                                                                                                                                                                                                                                                               764.00            764.00             0.00
                                                                                                                                                   Philadelphia, PA 19101-7346



                                                                                                                                                   ACCOUNT NO.




                                                                                                                                                   ACCOUNT NO.




                                                                                                                                                              1 of ___continuation
                                                                                                                                                                    1                                                                                       Subtotal                                  $      1,016.00      $   1,016.00     $       0.00
                                                                                                                                                   Sheet no. ___                    sheets attached to Schedule of                                 (Totals of this page)
                                                                                                                                                   Creditors Holding Priority Claims
                                                                                                                                                                                                                                                           Total                                      $      1,016.00
                                                                                                                                                                                                                 (Use only on last page of the completed
                                                                                                                                                                                                                 Schedule E.) Report also on the Summary
                                                                                                                                                                                                                 of Schedules)

                                                                                                                                                                                                                                                            Totals                                    $                    $   1,016.00      $      0.00
                                                                                                                                                                                                                 (Use only on last page of the completed
                                                                                                                                                                                                                 Schedule E. If applicable, report also on
                                                                                                                                                                                                                 the Statistical Summary of Certain
                                                                                                                                                                                                                 Liabilities and Related Data.)
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                                                                                                                                                   B6F (Official Form 6F) (12/07)

                                                                                                                                                            Kellie Michael King
                                                                                                                                                    In re __________________________________________,                                                                   Case No. _________________________________
                                                                                                                                                                                   Debtor                                                                                                                           (If known)

                                                                                                                                                         SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                                                                    against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                                                                    useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                                                                    of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                                                                    1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                                                               If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                                                                    appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                                                                    community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                                                                              If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                                                                    "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
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                                                                                                                                                              Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                                                                    Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                                                                    Related Data.
                                                                                                                                                             Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                                                                                     ORCOMMUNITY




                                                                                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                                                                                                                              DATE CLAIM WAS INCURRED AND
                                                                                                                                                                                                        CODEBTOR




                                                                                                                                                               CREDITOR’S NAME,




                                                                                                                                                                                                                                                                                                                   DISPUTED
                                                                                                                                                                                                                                                CONSIDERATION FOR CLAIM.                                                          AMOUNT
                                                                                                                                                                MAILING ADDRESS                                                                                                                                                     OF
                                                                                                                                                              INCLUDING ZIP CODE,                                                             IF CLAIM IS SUBJECT TO SETOFF,
                                                                                                                                                                                                                                                         SO STATE.                                                                 CLAIM
                                                                                                                                                             AND ACCOUNT NUMBER
                                                                                                                                                               (See instructions above.)

                                                                                                                                                   ACCOUNT NO.                                                                            Consideration: Student Loan
                                                                                                                                                   Sallie Mae
                                                                                                                                                   1100 USA Pkwy                                                                                                                                                                       1,000.00
                                                                                                                                                   Fisher, IN 46037



                                                                                                                                                   ACCOUNT NO.




                                                                                                                                                   ACCOUNT NO.




                                                                                                                                                   ACCOUNT NO.




                                                                                                                                                       _______continuation sheets attached                                                                                           Subtotal                                 $        1,000.00
                                                                                                                                                                                                                   0
                                                                                                                                                                                                                                                                       Total                                                  $        1,000.00
                                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                    (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                                          Summary of Certain Liabilities and Related Data.)
                                                                                                                                                              Case 15-53334-crm                 Doc 1      Filed 02/23/15 Entered 02/23/15 10:15:08                                 Desc Main
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                                                                                                                                                           Kellie Michael King                                                        Case No.
                                                                                                                                                   In re
                                                                                                                                                                             Debtor                                                                               (if known)

                                                                                                                                                           SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                                                                               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                                                                                     State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                                                                                     names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                                                                                     contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                                                                                     guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                           Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                                                                                      DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                                                                           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
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                                                                                                                                                              OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                                                                           NUMBER OF ANY GOVERNMENT CONTRACT.
                                                                                                                                                            Case 15-53334-crm                 Doc 1       Filed 02/23/15 Entered 02/23/15 10:15:08                               Desc Main
                                                                                                                                                   B6H (Official Form 6H) (12/07)                         Document Page 29 of 43



                                                                                                                                                   In re   Kellie Michael King                                                       Case No.
                                                                                                                                                                            Debtor                                                                              (if known)


                                                                                                                                                                                               SCHEDULE H - CODEBTORS
                                                                                                                                                       Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                                                                                   debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                                                                                   property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                                                                                   Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                                                                                   name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                                                                                   commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                                                                                   commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                                                                                   parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
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                                                                                                                                                   Fed. Bankr. P. 1007(m).
                                                                                                                                                       Check this box if debtor has no codebtors.



                                                                                                                                                                 NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR
                                                                                                                                                                  Case 15-53334-crm                   Doc 1     Filed 02/23/15 Entered 02/23/15 10:15:08                                        Desc Main
                                                                                                                                                                                                                Document Page 30 of 43
                                                                                                                                                    Fill in this information to identify your case:


                                                                                                                                                    Debtor 1           Kellie Michael King
                                                                                                                                                                       __________________________________________________________ _________
                                                                                                                                                                        First Name             Middle Name             Last Name

                                                                                                                                                    Debtor 2            __________________________________________________________________
                                                                                                                                                    (Spouse, if filing) First Name             Middle Name             Last Name

                                                                                                                                                                                                   Northern
                                                                                                                                                    United States Bankruptcy Court for the: ___________________________             GA
                                                                                                                                                                                                                        District of ________

                                                                                                                                                    Case number         ___________________________________________                                         Check if this is:
                                                                                                                                                     (If known)
                                                                                                                                                                                                                                                                  An amended filing
                                                                                                                                                                                                                                                                  A supplement showing post-petition
                                                                                                                                                                                                                                                                  chapter 13 income as of the following date:
                                                                                                                                                                                                                                                                  ________________
                                                                                                                                                   Official Form                     6I                                                                           MM / DD / YYYY


                                                                                                                                                   Schedule I: Your Income                                                                                                                                 12/13
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                                                                                                                                                   Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                                                                                                   supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                                                                                                   If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                                                                                                   separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                                                                                                    Part 1:           Describe Employment


                                                                                                                                                   1. Fill in your employment
                                                                                                                                                       information.                                                          Debtor 1                                          Debtor 2 or non-filing spouse

                                                                                                                                                       If you have more than one job,
                                                                                                                                                       attach a separate page with
                                                                                                                                                                                            Employment status
                                                                                                                                                                                                                         X      Employed                                           Employed
                                                                                                                                                       information about additional
                                                                                                                                                       employers.                                                               Not employed                                       Not employed
                                                                                                                                                       Include part-time, seasonal, or
                                                                                                                                                       self-employed work.                                             Certified Nursing Assistant
                                                                                                                                                                                            Occupation                  __________________ ________________                __________________________________
                                                                                                                                                       Occupation may Include student
                                                                                                                                                       or homemaker, if it applies.
                                                                                                                                                                                                                       Grady Memorial Hospital Corp
                                                                                                                                                                                            Employer’s name             __________________ ________________                __________________ ________________


                                                                                                                                                                                            Employer’s address         80  Jesse Hill Jr. Drive SE
                                                                                                                                                                                                                        _______________________________________            _______________________________________
                                                                                                                                                                                                                         Number     Street                                  Number   Street

                                                                                                                                                                                                                       _______________________________________             _______________________________________

                                                                                                                                                                                                                       _______________________________________             _______________________________________

                                                                                                                                                                                                                       Atlanta, GA 30303
                                                                                                                                                                                                                       _______________________________________             _______________________________________
                                                                                                                                                                                                                         City                  State   ZIP Code             City                State ZIP Code

                                                                                                                                                                                            How long employed there?           2 months
                                                                                                                                                                                                                              _______                                       _______

                                                                                                                                                    Part 2:           Give Details About Monthly Income

                                                                                                                                                       Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                                                                                                       spouse unless you are separated.
                                                                                                                                                       If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                                                                                                       below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                                                                                                       For Debtor 1         For Debtor 2 or
                                                                                                                                                                                                                                                                            non-filing spouse
                                                                                                                                                    2. List monthly gross wages, salary, and commissions (before all payroll
                                                                                                                                                        deductions). If not paid monthly, calculate what the monthly wage would be.            2.        2,070.00                      N.A.
                                                                                                                                                                                                                                                       $___________             $____________

                                                                                                                                                    3. Estimate and list monthly overtime pay.                                                 3.            0.00
                                                                                                                                                                                                                                                    + $___________         +           N.A.
                                                                                                                                                                                                                                                                                $____________


                                                                                                                                                    4. Calculate gross income. Add line 2 + line 3.                                            4.         2,070.00
                                                                                                                                                                                                                                                       $__________                     N.A.
                                                                                                                                                                                                                                                                                $____________



                                                                                                                                                   Official Form       6I                                           Schedule I: Your Income                                                            page 1
             Case 15-53334-crm                                 Doc 1            Filed 02/23/15 Entered 02/23/15 10:15:08                                           Desc Main
                                                                                Document Page 31 of 43
                  Kellie Michael King
Debtor 1         _______________________________________________________                                                   Case number (if known)_____________________________________
                 First Name          Middle Name                Last Name



                                                                                                                          For Debtor 1         For Debtor 2 or
                                                                                                                                               non-filing spouse
                                                                                                                             2,070.00
                                                                                                                           $___________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________
   Copy line 4 here ............................................................................................   4.

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                             5a.          150.00
                                                                                                                          $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
     5b. Mandatory contributions for retirement plans                                                              5b.            0.00
                                                                                                                           $____________                  N.A.
                                                                                                                                                   $_____________
     5c. Voluntary contributions for retirement plans                                                              5c.            0.00
                                                                                                                           $____________                  N.A.
                                                                                                                                                   $_____________
     5d. Required repayments of retirement fund loans                                                              5d.            0.00
                                                                                                                           $____________                  N.A.
                                                                                                                                                   $_____________
     5e. Insurance                                                                                                 5e.            0.00
                                                                                                                           $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
     5f. Domestic support obligations                                                                              5f.
                                                                                                                                  0.00
                                                                                                                           $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
                                                                                                                                  0.00
                                                                                                                           $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
     5g. Union dues                                                                                                5g.
     5h. Other deductions. Specify: __________________________________                                             5h.            0.00
                                                                                                                         + $____________       +          N.A.
                                                                                                                                                   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.          150.00
                                                                                                                          $____________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________

                                                                                                                             1,920.00                    N.A.
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.     $____________            $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                      0.00
                                                                                                                          $____________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________
           monthly net income.                                                                                     8a.
     8b. Interest and dividends                                                                                    8b.            0.00                   N.A.
                                                                                                                                                   $_____________
                                                                                                                          $____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                  0.00                   N.A.
                                                                                                                          $____________            $_____________
           settlement, and property settlement.                                                                    8c.
     8d. Unemployment compensation                                                                                 8d.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
     8e. Social Security                                                                                           8e.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
                                                                                                                                  0.00
                                                                                                                          $____________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                              8g.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
                                        part time job HCR
     8h. Other monthly income. Specify: _______________________________                                            8h.          160.00
                                                                                                                         + $____________                N.A.
                                                                                                                                               + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.          160.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                             2,080.00
                                                                                                                          $___________     +             N.A. = $_____________
                                                                                                                                                   $_____________    2,080.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: ______________________________________ ___________________________ ______________                                                                                  0.00
                                                                                                                                                                 11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                            2,080.00
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                 12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     X     No.
           Yes. Explain:


Official Form       6I                                                               Schedule I: Your Income                                                               page 2
                                                                                                                                                                  Case 15-53334-crm                     Doc 1     Filed 02/23/15 Entered 02/23/15 10:15:08                                   Desc Main
                                                                                                                                                                                                                  Document Page 32 of 43
                                                                                                                                                     Fill in this information to identify your case:

                                                                                                                                                     Debtor 1           Kellie Michael King
                                                                                                                                                                       __________________________________________________________________
                                                                                                                                                                         First Name              Middle Name             Last Name                       Check if this is:
                                                                                                                                                     Debtor 2            ________________________________________________________________
                                                                                                                                                     (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                                                                                                                                                                             An amended filing
                                                                                                                                                                                                                                                             A supplement showing post-petition chapter 13
                                                                                                                                                                                                   Northern
                                                                                                                                                     United States Bankruptcy Court for the: ___________________________             GA
                                                                                                                                                                                                                         District of ________
                                                                                                                                                                                                                                                             expenses as of the following date:
                                                                                                                                                                                                                                                             ________________
                                                                                                                                                     Case number        ___________________________________________                                          MM / DD / YYYY
                                                                                                                                                     (If known)
                                                                                                                                                                                                                                                             A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                                                                                             maintains a separate household
                                                                                                                                                   Official Form                      6J
                                                                                                                                                   Schedule J: Your Expenses                                                                                                                            12/13

                                                                                                                                                   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                                                                                                   information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
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                                                                                                                                                   (if known). Answer every question.

                                                                                                                                                    Part 1:            Describe Your Household

                                                                                                                                                   1. Is this a joint case?
                                                                                                                                                      X    No. Go to line 2.
                                                                                                                                                           Yes. Does Debtor 2 live in a separate household?

                                                                                                                                                                        No
                                                                                                                                                                        Yes. Debtor 2 must file a separate Schedule J.

                                                                                                                                                   2. Do you have dependents?                      No
                                                                                                                                                                                               X                                      Dependent’s relationship to              Dependent’s    Does dependent live
                                                                                                                                                      Do not list Debtor 1 and                     Yes. Fill out this information for Debtor 1 or Debtor 2                     age            with you?
                                                                                                                                                      Debtor 2.                                    each dependent ..........................
                                                                                                                                                                                                                                                                                                  No
                                                                                                                                                      Do not state the dependents’                                                    __________________ _______               ________
                                                                                                                                                      names.                                                                                                                                      Yes

                                                                                                                                                                                                                                      __________________ _______               ________           No
                                                                                                                                                                                                                                                                                                  Yes

                                                                                                                                                                                                                                      __________________ _______               ________           No
                                                                                                                                                                                                                                                                                                  Yes

                                                                                                                                                                                                                                      __________________ _______               ________           No
                                                                                                                                                                                                                                                                                                  Yes

                                                                                                                                                                                                                                      __________________ _______               ________           No
                                                                                                                                                                                                                                                                                                  Yes

                                                                                                                                                   3. Do your expenses include                 X   No
                                                                                                                                                      expenses of people other than
                                                                                                                                                      yourself and your dependents?                Yes

                                                                                                                                                   Part 2:         Estimate Your Ongoing Monthly Expenses

                                                                                                                                                   Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                                                                                                   expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                                                                                                   applicable date.
                                                                                                                                                   Include expenses paid for with non-cash government assistance if you know the value
                                                                                                                                                   of such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                         Your expenses

                                                                                                                                                    4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                           400.00
                                                                                                                                                        any rent for the ground or lot.                                                                                  4.
                                                                                                                                                                                                                                                                                 $_____________________

                                                                                                                                                        If not included in line 4:
                                                                                                                                                        4a.    Real estate taxes                                                                                         4a.
                                                                                                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                                                                                 $_____________________
                                                                                                                                                        4b.    Property, homeowner’s, or renter’s insurance                                                              4b.                      0.00
                                                                                                                                                                                                                                                                                 $_____________________
                                                                                                                                                        4c.    Home maintenance, repair, and upkeep expenses                                                             4c.                      0.00
                                                                                                                                                                                                                                                                                 $_____________________
                                                                                                                                                        4d.    Homeowner’s association or condominium dues                                                               4d.                      0.00
                                                                                                                                                                                                                                                                                 $_____________________

                                                                                                                                                   Official Form         6J                                      Schedule J: Your Expenses                                                          page 1
              Case 15-53334-crm                   Doc 1        Filed 02/23/15 Entered 02/23/15 10:15:08                          Desc Main
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 Debtor 1         Kellie Michael King
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                                     0.00
                                                                                                                     $_________________ ____
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:
                                                                                                                                         0.00
      6a.   Electricity, heat, natural gas                                                                    6a.    $_________________ ____
                                                                                                                                         0.00
      6b.   Water, sewer, garbage collection                                                                  6b.    $_________________ ____
                                                                                                                                      415.00
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_________________ ____
                                                                                                                                         0.00
      6d.   Other. Specify: _______________________________________________                                   6d.    $_________________ ____
                                                                                                                                      400.00
 7. Food and housekeeping supplies                                                                            7.     $_________________ ____
                                                                                                                                         0.00
 8. Childcare and children’s education costs                                                                  8.     $_________________ ____
                                                                                                                                      100.00
 9. Clothing, laundry, and dry cleaning                                                                       9.     $_________________ ____
                                                                                                                                      105.00
10.   Personal care products and services                                                                     10.    $_________________ ____
                                                                                                                                        60.00
11.   Medical and dental expenses                                                                             11.    $_________________ ____

12. Transportation. Include gas, maintenance, bus or train fare.                                                                      400.00
                                                                                                                     $_________________ ____
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                    0.00
                                                                                                                     $_________________ ____
14.   Charitable contributions and religious donations                                                        14.                    0.00
                                                                                                                     $_________________ ____
                                                                                                                                                    1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.
                                                                                                                                     0.00
                                                                                                                     $_________________ ____
      15b. Health insurance                                                                                   15b.                   0.00
                                                                                                                     $_________________ ____
      15c. Vehicle insurance                                                                                  15c.                   0.00
                                                                                                                     $_________________ ____
      15d. Other insurance. Specify:_______________________________________                                   15d.                   0.00
                                                                                                                     $_________________ ____

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                     0.00
                                                                                                                     $_________________ ____
      Specify: ______________________________________ __________________                                      16.

17.   Installment or lease payments:
                                                                                                                                         0.00
      17a. Car payments for Vehicle 1                                                                         17a.   $_________________ ____
                                                                                                                                         0.00
      17b. Car payments for Vehicle 2                                                                         17b.   $_________________ ____
                              anticipated tax payments to IRS/GADOR                                                                   200.00
      17c. Other. Specify:_________________________________ ______________                                    17c.   $_________________ ____
                                                                                                                                         0.00
      17d. Other. Specify:_________________________________ ______________                                    17d.   $_________________ ____

18.   Your payments of alimony, maintenance, and support that you did not report as deducted                                             0.00
      from your pay on line 5, Schedule I, Your Income (Official Form 6I).                                     18.   $_____________________


19.   Other payments you make to support others who do not live with you.
                                                                                                               19.                   0.00
                                                                                                                     $_____________________
      Specify:_______________________________________________________

20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.
                                                                                                                                         0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.
                                                                                                                                     0.00
                                                                                                                     $_____________________



 Official Form     6J                                          Schedule J: Your Expenses                                                   page 2
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 Debtor 1          Kellie Michael King
                  _______________________________________________________                     Case number (if known)_____________________________________
                  First Name    Middle Name      Last Name




                                                                                                                                            0.00
21.    Other. Specify: ________________________________ _________________                                        21.   +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.                                                                               2,080.00
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                                       2,080.00
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.                 2,080.00
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.                                                                       0.00
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      X   No.
          Yes.      Explain here:




 Official Form      6J                                       Schedule J: Your Expenses                                                        page 3
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                          ITED STATES  BANKRUPTCY
                                 Document Page 35 of 43COURT
                             Northern District of Georgia - Atlanta Division
In re:
         Kellie Michael King                        Case No.



                                                    Chapter    7
                 Debtor(s)


            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for
the above-named debtor(s) and that compensation paid to me within one year before the filing of
the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as
follows:

For legal services, I have agreed to accept:                           $1,000.00
Prior to the filing of this statement I have received:                 $250.00
Balance Due:                                                           $750.00

2. The source of the compensation paid to me was:
          Debtor                       Other:




3. The source of compensation to be paid to me is:
          Debtor                       Other:




4. I have not agreed to share the above-disclosed compensation with any other person unless
they are members and associates of my law firm.
      I have agreed to share the above-disclosed compensation with a other person or persons
who are not members or associates of my law firm. A copy of the agreement, together with a list
of the names of the people sharing in the compensation, is attached.
5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the
bankruptcy case, including:
         a. Analysis of the debtor' s financial situation, and rendering advice to the debtor in
determining whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which
may be required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and
any adjourned hearings thereof;
         d. Representation of the debtor in adversary proceedings and other contested bankruptcy
matters as previously agreed upon between the parties;
6. By agreement with the debtor(s), the above-disclosed fee does not include the following
services:
         I certify that the foregoing is a complete statement of any agreement or arrangement for
payment to me for representation of the debtor(s) in this bankruptcy proceeding.
02/23/15

/s/Michael R. Rethinger
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Michael R. Rethinger
301215
241 Mitchell Street, SWAtlanta, GA 30303 770.922.0066
                                                                                                                                                            Case 15-53334-crm              Doc 1   Filed 02/23/15 Entered 02/23/15 10:15:08                   Desc Main
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                                                                                                                                                                                       UNITED STATES BANKRUPTCY COURT
                                                                                                                                                                                           Northern District of Georgia - Atlanta Division
                                                                                                                                                           Kellie Michael King
                                                                                                                                                   In re                                                            ,         Case No.
                                                                                                                                                                                  Debtor                                                        Chapter 7



                                                                                                                                                                            CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                                                                    PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
                                                                                                                                                    secured by property of the estate. Attach additional pages if necessary.)


                                                                                                                                                      Property No. 1
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                                                                                                                                                     Creditor's Name:                                                    Describe Property Securing Debt:
                                                                                                                                                      Multibank 2009-1 RES ADC Venture LLC                                 Single Family Home at: 664 Clover Street,
                                                                                                                                                                                                                           Atlanta, Georgia


                                                                                                                                                      Property will be (check one):
                                                                                                                                                                Surrendered                              Retained

                                                                                                                                                      If retaining the property, I intend to (check at least one):
                                                                                                                                                                 Redeem the property
                                                                                                                                                                 Reaffirm the debt
                                                                                                                                                                 Other. Explain _______________________________________________(for example, avoid lien
                                                                                                                                                      using 11 U.S.C. §522(f)).

                                                                                                                                                      Property is (check one):
                                                                                                                                                                 Claimed as exempt                                      Not claimed as exempt



                                                                                                                                                      Property No. 2 (if necessary)
                                                                                                                                                     Creditor's Name:                                                    Describe Property Securing Debt:
                                                                                                                                                      Fulton County Tax Commissioner                                       Single Family Home at: 664 Clover Street,
                                                                                                                                                                                                                           Atlanta, Georgia


                                                                                                                                                      Property will be (check one):
                                                                                                                                                                Surrendered                              Retained

                                                                                                                                                      If retaining the property, I intend to (check at least one):
                                                                                                                                                                 Redeem the property
                                                                                                                                                                 Reaffirm the debt
                                                                                                                                                                 Other. Explain _______________________________________________(for example, avoid lien
                                                                                                                                                      using 11 U.S.C. §522(f)).

                                                                                                                                                      Property is (check one):
                                                                                                                                                                 Claimed as exempt                                      Not claimed as exempt
                                                                                                                                                              Case 15-53334-crm                Doc 1   Filed 02/23/15 Entered 02/23/15 10:15:08                Desc Main
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                                                                                                                                                   B8 (Official Form 8) (12/08)                                                                                     Page 2

                                                                                                                                                       PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for
                                                                                                                                                       Each unexpired lease. Attach additional pages if necessary.)



                                                                                                                                                         Property No. 1           NO Leased Property
                                                                                                                                                        Lessor's Name:                                 Describe Leased Property:             Lease will be Assumed pursuant
                                                                                                                                                                                                                                             to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                                                                YES              NO


                                                                                                                                                         Property No. 2 (if necessary)
                                                                                                                                                        Lessor's Name:                                 Describe Leased Property:             Lease will be Assumed pursuant
                                                                                                                                                                                                                                             to 11 U.S.C. §365(p)(2)):
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                                                                                                                                                                                                                                                YES              NO


                                                                                                                                                         Property No. 3 (if necessary)
                                                                                                                                                        Lessor's Name:                                 Describe Leased Property:             Lease will be Assumed pursuant
                                                                                                                                                                                                                                             to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                                                                YES              NO

                                                                                                                                                        ______
                                                                                                                                                         0     continuation sheets attached (if any)

                                                                                                                                                       I declare under penalty of perjury that the above indicates my intention as to any property of my
                                                                                                                                                       Estate securing debt and/or personal property subject to an unexpired lease.




                                                                                                                                                             2/18/2015
                                                                                                                                                       Date:_____________________________                          /s/ Kellie Michael King
                                                                                                                                                                                                                Signature of Debtor




                                                                                                                                                                                                                Signature of Joint Debtor
                                                                                                                                                            Case 15-53334-crm                 Doc 1      Filed 02/23/15 Entered 02/23/15 10:15:08                              Desc Main
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                                                                                                                                                         B6 Summary (Official Form 6 - Summary) (12/14)




                                                                                                                                                                                              United States Bankruptcy Court
                                                                                                                                                                                              Northern District of Georgia - Atlanta Division
                                                                                                                                                                     Kellie Michael King
                                                                                                                                                        In re                                                                                        Case No.
                                                                                                                                                                                                         Debtor
                                                                                                                                                                                                                                                     Chapter        7

                                                                                                                                                                                                        SUMMARY OF SCHEDULES
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                                                                                                                                                   Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                                                                                   I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                                                                                   claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                                                                                   Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                                                                              AMOUNTS SCHEDULED
                                                                                                                                                                                                  ATTACHED
                                                                                                                                                     NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER

                                                                                                                                                     A – Real Property
                                                                                                                                                                                                  YES                     1            $     36,158.00

                                                                                                                                                     B – Personal Property
                                                                                                                                                                                                  YES                     3            $      3,010.00

                                                                                                                                                     C – Property Claimed
                                                                                                                                                         as exempt                                YES                     1

                                                                                                                                                     D – Creditors Holding
                                                                                                                                                        Secured Claims                            YES                     1                                  $     279,677.04

                                                                                                                                                     E - Creditors Holding Unsecured
                                                                                                                                                         Priority Claims                          YES                     3                                  $       1,016.00
                                                                                                                                                        (Total of Claims on Schedule E)
                                                                                                                                                     F - Creditors Holding Unsecured
                                                                                                                                                         Nonpriority Claims                       YES                     1                                  $       1,000.00

                                                                                                                                                     G - Executory Contracts and
                                                                                                                                                         Unexpired Leases                         YES                     1

                                                                                                                                                     H - Codebtors
                                                                                                                                                                                                  YES                     1

                                                                                                                                                     I - Current Income of
                                                                                                                                                         Individual Debtor(s)                     YES                     2                                                        $     2,080.00

                                                                                                                                                     J - Current Expenditures of Individual
                                                                                                                                                         Debtors(s)                               YES                     3                                                        $     2,080.00


                                                                                                                                                                                          TOTAL                           17           $     39,168.00       $     281,693.04
                                                                                                                                                     Official
                                                                                                                                                        Case  Form 6 - Statistical Summary
                                                                                                                                                                 15-53334-crm          Doc (12/14)
                                                                                                                                                                                             1            Filed 02/23/15 Entered 02/23/15 10:15:08                     Desc Main
                                                                                                                                                                                                          Document Page 40 of 43
                                                                                                                                                                                         United States Bankruptcy Court
                                                                                                                                                                                            Northern District of Georgia - Atlanta Division

                                                                                                                                                                In re      Kellie Michael King                                                  Case No.
                                                                                                                                                                                                          Debtor
                                                                                                                                                                                                                                                Chapter       7

                                                                                                                                                   STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                                                                                        If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                                                                                   §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                                                                         Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                                                                                   information here.
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                                                                                                                                                   This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                                                                                   Summarize the following types of liabilities, as reported in the Schedules, and total them.



                                                                                                                                                      Type of Liability                                                         Amount
                                                                                                                                                      Domestic Support Obligations (from Schedule E)                            $
                                                                                                                                                                                                                                         0.00
                                                                                                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from
                                                                                                                                                                                                                                $
                                                                                                                                                      Schedule E)
                                                                                                                                                                                                                                    1,016.00
                                                                                                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from    $
                                                                                                                                                      Schedule E) (whether disputed or undisputed)
                                                                                                                                                                                                                                         0.00
                                                                                                                                                      Student Loan Obligations (from Schedule F)                                $
                                                                                                                                                                                                                                         0.00
                                                                                                                                                      Domestic Support, Separation Agreement, and Divorce Decree                $
                                                                                                                                                      Obligations Not Reported on Schedule E                                             0.00
                                                                                                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations   $
                                                                                                                                                      (from Schedule F)                                                                  0.00

                                                                                                                                                                                                                       TOTAL    $   1,016.00


                                                                                                                                                     State the Following:
                                                                                                                                                      Average Income (from Schedule I, Line 12)                                 $   2,080.00
                                                                                                                                                      Average Expenses (from Schedule J, Line 22)                               $
                                                                                                                                                                                                                                    2,080.00
                                                                                                                                                      Current Monthly Income (from Form 22A-1 Line 11; OR, Form
                                                                                                                                                      22B Line 14; OR, Form 22C-1 Line 14 )                                     $
                                                                                                                                                                                                                                    2,230.00



                                                                                                                                                     State the Following:
                                                                                                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF                                          $
                                                                                                                                                      ANY” column                                                                                   243,519.04

                                                                                                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO                             $
                                                                                                                                                      PRIORITY” column.                                                             1,016.00

                                                                                                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                         $
                                                                                                                                                      PRIORITY, IF ANY” column                                                                             0.00

                                                                                                                                                      4. Total from Schedule F                                                                  $      1,000.00
                                                                                                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                              $
                                                                                                                                                                                                                                                    244,519.04
                                                                                                                                                         Case 15-53334-crm                                  Doc 1            Filed 02/23/15 Entered 02/23/15 10:15:08                                                                   Desc Main
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                                                                                                                                                         B6 (Official Form 6 - Declaration) (12/07)

                                                                                                                                                                   Kellie Michael King
                                                                                                                                                         In re                                                                                                                                        Case No.
                                                                                                                                                                                                Debtor                                                                                                                                   (If known)

                                                                                                                                                                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                                                                                        DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                                                                             19
                                                                                                                                                                    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______ sheets, and that they
                                                                                                                                                         are true and correct to the best of my knowledge, information, and belief.



                                                                                                                                                          Date       2/18/2015                                                                                                 Signature:          /s/ Kellie Michael King
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                                                                                                                                                                                                                                                                                                                                  Debtor


                                                                                                                                                          Date                                                                                                                 Signature:                       Not Applicable
                                                                                                                                                                                                                                                                                                                         (Joint Debtor, if any)

                                                                                                                                                                                                                                                                                      [If joint case, both spouses must sign.]
                                                                                                                                                      -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                                                                                  DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                                                                                        I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                                                                    compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                                                                    110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                                                                                    by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                                                                                    accepting any fee from the debtor, as required by that section.


                                                                                                                                                    Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                                                                                    of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                                                                                     who signs this document.




                                                                                                                                                     Address

                                                                                                                                                     X
                                                                                                                                                                          Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                                                                                   Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                                                                                   If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                                                                   A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                                                                                   18 U.S.C. § 156.
                                                                                                                                                   -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                                                                                        DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                                                                         I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                                                                                   or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                                                                                   in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                                                                                   shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                                                                                   Date                                                                                                                 Signature:


                                                                                                                                                                                                                                                                                         [Print or type name of individual signing on behalf of debtor.]
                                                                                                                                                                                    [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                                                                                    -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                                                           Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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                                                                                                                                                   B 201B (Form 201B) (12/09)
                                                                                                                                                                                         United States Bankruptcy Court
                                                                                                                                                                                      Northern District of Georgia - Atlanta Division



                                                                                                                                                   In re   Kellie Michael King                                                                  Case No.
                                                                                                                                                                             Debtor                                                                                    (If known)



                                                                                                                                                                           CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
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                                                                                                                                                                               UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                                                                                                     Certification of [Non-Attorney] Bankruptcy Petition Preparer

                                                                                                                                                             I, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered to the
                                                                                                                                                    debtor the attached notice, as required by § 342(b) of the Bankruptcy Code




                                                                                                                                                     Printed name and title, if any, of Bankruptcy Petition Preparer                    Social Security number (If the bankruptcy petition
                                                                                                                                                     Address:                                                                           preparer is not an individual, state the Social Security
                                                                                                                                                                                                                                        number of the officer, principal, responsible person,
                                                                                                                                                                                                                                        or partner of the bankruptcy petition preparer.)
                                                                                                                                                                                                                                        (Required by 11 U.S.C. § 110.)

                                                                                                                                                     X
                                                                                                                                                     Signature of Bankruptcy Petition Preparer or officer,
                                                                                                                                                     Principal, responsible person, or partner whose Social
                                                                                                                                                     Security number is provided above.




                                                                                                                                                                                                              Certification of the Debtor
                                                                                                                                                              I, (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
                                                                                                                                                    Code

                                                                                                                                                     Kellie Michael King                                                                X   /s/ Kellie Michael King                 2/18/2015
                                                                                                                                                     Printed Names(s) of Debtor(s)                                                          Signature of Debtor                            Date

                                                                                                                                                     Case No. (if known)                                                                X
                                                                                                                                                                                                                                            Signature of Joint Debtor, (if any)           Date




                                                                                                                                                     Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                                                                                                     Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                                                                                                     NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by
                                                                                                                                                     the debtor's attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
                                                                                                                                                     petition preparers on page 3 of Form B1 also include this certification.
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                    Georgia Department Of Revenue
                    Bankruptcy Unit
                    P.O. Box 161108
                    Atlanta, Ga 30321

                    Internal Revenue Service
                    Box 7346
                    Philadelphia, Pa 19101-7346

                    Multibank 2009-1 Res-adc Venture
                    , Llc
                    C/o Jones & Walker
                    One Midtown Plaza
                    Suite 1030
                    1360 Peachtree Street, Ne
                    Atlanta, Ga 30309

                    Sallie Mae
                    1100 Usa Pkwy
                    Fisher, In 46037
